
ORFINGER, Judge.
In committing the child involved in these proceedings to the custody of the Department of Health and Rehabilitative Services (HRS) after an adjudication of delinquency, the trial court ranked two of the three placement options submitted by HRS, but refused to rank the third option. The refusal of the trial judge to rank all the placement options presented by HRS is in violation of the mandatory dictates of section 39.09(3)(e), Florida Statutes (1985). See In Re Interest of K.J.M., a child, 495 So.2d 241 (Fla. 5th DCA 1986). Because the trial judge cannot select the placement options but can only rank them in priority order, and because the “training school” option was not ranked as either priority one or priority two, it should have been ranked as priority three, and the order appealed from is hereby modified so as to reflect such third ranking. As so modified, the order is affirmed.
AFFIRMED as modified.
DAUKSCH and COWART, JJ., concur.
